                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
FABIAN ANTON CROSBY (17)                 )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine. (Doc. No. 553).

       The defendant was sentenced to 60 months’ imprisonment pursuant to the mandatory

minimum sentence prescribed in 21 U.S.C. § 841(b)(1)(B), based on his plea to conspiracy to

possess with intent to distribute at least 5, but less than 50, grams of cocaine base. (Doc. No. 104:

Indictment; Doc. No. 274: Plea Agreement; Doc. No. 406: Judgment; Doc. No. 407: Statement of

Reasons). Accordingly, the change in the guidelines does not affect on the defendant’s sentence.

Neal v. United States, 516 U.S. 284, 296 (1996) (retroactive amendment to guidelines does not

alter statutory mandatory minimum).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: March 20, 2008




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